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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


  UNITED STATES OF AMERICA                           :
                                                     :
          v.                                         :        CASE NO. 21-CR-91 (RCL)
                                                     :
  TAYLOR JAMES JOHNATAKIS,                           :
                                                     :
          Defendant.                                 :

          GOVERNMENT’S NOTICE OF INTENT TO OFFER EVIDENCE
       PURSUANT TO RULE 902(14) OF THE FEDERAL RULES OF EVIDENCE

       The United States of America formally notifies the defendant of its intention to offer

evidence pursuant to Rule 902(14) of the Federal Rules of Evidence during its case-in-chief.

       The Federal Rules of Evidence provide:

               The following items of evidence are self-authenticating; they
               require no extrinsic evidence of authenticity in order to be
               admitted:

               […]

               (14) Certified Data Copied from an Electronic Device, Storage
               Medium, or File. Data copied from an electronic device, storage
               medium, or file, if authenticated by a process of digital
               identification, as shown by a certification of a qualified person that
               complies with the certification requirements of Rule 902(11) or
               (12). The proponent also must meet the notice requirements of
               Rule 902(11).

Fed. R. Evid. 902(14).

       The following are the self-authenticating exhibits that the government intends to offer

during its case-in-chief pursuant to Rule 902(14):




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   EXHIBITS                              DESCRIPTION

 Exhibits 701 to
                          Photographs taken on 1/6/2021 from iPhone extraction
      711


  Exhibits 701A          Cellebrite reports of photographs taken on 1/6/2021 from
    to 711A                                   iPhone extraction


   Exhibits 712
                                   Screenshots from iPhone extraction
     and 713


  Exhibits 712A
                         Cellebrite reports of screenshots from iPhone extraction
    and 713A


 Exhibits 714 to     Cellebrite reports of calendar entries dated 1/5/2021 to 1/8/2021
      720                                  from iPhone extraction


   Exhibits 721
                                Audio recordings from iPhone extraction
     and 722


  Exhibits 721A
                      Cellebrite reports for audio recordings from iPhone extraction
    and 722A


   Exhibit 723                        Email from iPhone extraction

                        Cellebrite report of account user information for Telegram
   Exhibit 724
                                    application from iPhone extraction

 Exhibits 725 to
                                     Videos from iPhone extraction
      747


  Exhibits 725A
                          Cellebrite reports from videos from iPhone extraction
    to 747A


       The proposed exhibits have been provided to the defense and remain available for

inspection and copying at the United States Attorney’s Office upon request by defense counsel.


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The exhibits have an accompanying certification complying with the requirements of Fed. R. Evid.

902(14), as well as a chain of custody form, and a redacted FBI report written by the CART

examiner, which are attached hereto as Exhibits 1, 2, and 3 respectively.



                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             D.C. Bar No. 481052

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